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 6                                    UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 7                                         AT SAN FRANCISCO

 8   _________________________________________
      FOOD & WATER WATCH, et al.,              )
 9                                             )              Civ. No. 17-CV-02162-EMC
                              Plaintiffs,      )
10                vs.                          )             DECLARATION OF MICHAEL
                                               )             CONNETT REGARDING
11    U.S. ENVIRONMENTAL PROTECTION            )             INADVERTENTLY OMITTED PAGE
      AGENCY, et al.                           )             FROM EXHIBIT 2 TO PLAINTIFFS’
12                                             )             MOTION FOR SUMMARY JUDGMENT
                              Defendants.      )             AND PARTIAL SUMMARY
13                                             )             JUDGMENT
                                               )
14                                             )

15

16          I, Michael Connett, submit the following declaration in support of Plaintiffs’ Motion for Summary
17
     Judgment and Partial Summary Judgment.
18
            1.      I am lead counsel for Plaintiffs in the above-captioned case.
19
            2.      Exhibit 2, Page 287 is a true and correct copy of page 287 to the deposition of EPA’s
20

21   30(b)(6) representative in this case, Dr. Edward Ohanian. This page was inadvertently omitted from the

22   documents that were attached to Plaintiffs’ Motion for Summary Judgment and Partial Summary Judgment.

23          I declare under penalty of perjury that the foregoing is true and correct.
24          Executed on October 14, 2019, in El Segundo, California.
25
                                                   /s/ Michael Connett
26                                                 MICHAEL CONNETT
                                                   Attorney for Plaintiffs
27

28
                                                   1
                                       DECLARATION OF MICHAEL CONNETT
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        Exhibit 2, Page 287
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                                  30(b)(6)                            287

·1   · · A.· Correct.

·2   · · Q.· And yet, you have no data -- EPA has no

·3   data, at all, as to the percentage of the children

·4   in Dean's study that were breastfed, correct?

·5   · · A.· Correct.

·6   · · Q.· Okay.· EPA has cited data in its report

·7   that children with kidney disease, diabetes

·8   insipidus, and genetic diabetes, and polio

·9   nephrites are more susceptible to the development

10   of dental fluorosis than healthy children,

11   correct?

12   · · A.· Correct.

13   · · Q.· And yet, you have no data, from Dean's

14   study, as to the percentage of children in that

15   study, that had any of those conditions, correct?

16   · · A.· Correct.

17   · · Q.· And you, yourself, admitted that you can

18   draw no conclusions, from Dean's study, as to the

19   risk of severe dental fluorosis, for children with

20   kidney disease, drinking water with less than two

21   parts per million, correct?



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